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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION
_______________________________________

Texas Equal Access Fund;
Lilith Fund for Reproductive Equity,

                      Plaintiffs,

   v.                                                Civil Action No. 2:20-cv-00055

City of Waskom, Texas;
City of Naples, Texas;
City of Joaquin, Texas;
City of Tenaha, Texas;
City of Rusk, Texas;
City of Gary, Texas;
City of Wells, Texas,

                  Defendants.
_______________________________________

                                    NOTICE OF DISMISSAL

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), the requirements of said Rule

having been met, Plaintiffs hereby dismiss their action against all Defendants.



        Dated: May 26, 2020                         Respectfully submitted,


                                                    /s/ Anjali Salvador
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 26, 2020, I served a copy of the foregoing notice of

dismissal via the Electronic Case Filing system upon counsel for Defendants listed below:

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                                                            /s Anjali Salvador___________
                                                            Anjali Salvador




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